                        Case
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                    6 Attorneys for Young Hie Choi

                    7                                     UNITED STATES DISTRICT COURT

                    8                                            DISTRICT OF NEVADA

                    9

                   10 UNITED STATES OF AMERICA,                                CASE NO. 2:12-cr-268-JAD-CWH

                   11                       Plaintiff,                         STIPULATION AND [PROPOSED]
                                                                               ORDER TO CONTINUE HEARING
                   12              vs.
                                                                               (First Request)
                   13 YOUNG HIE CHOI, a.k.a. Lianyi Li,
                      PAUL CHOI, a.k.a. Chunai Li,
                   14 JIN HO SONG, a.k.a. Chenghua Song, a.k.a.
                      Aihua Shen, a.k.a. Songai Li,
                   15 IN SEON SEONG, a.k.a. Hong Shan Jin,
                      JONG YUN LEE, a.k.a. Hong Chang, a.k.a.
                   16 Hong Yu Jin, and
                      MYOUNG SOOK SONG, a.k.a. Chun Yu Jin,
                   17
                                    Defendants.
                   18
                   19

                   20             IT IS HEREBY STIPULATED AND AGREED by and between the United States of
                   21 America, by and through Assistant United States Attorney Kimberly Frayn of the United States

                   22 Attorney’s Office for the District of Nevada, and defendant Young Hie Choi, by and through

                   23 Kathleen Bliss and Russell J. Burke, of the law firm Lewis Brisbois Bisgaard & Smith, that the

                   24 hearing on defendant’s Motion to Modify Conditions of Pretrial Release (ECF No. 93) be held on

                   25 May 18, 2015, or the first available date thereafter at the Court’s convenience based on the

                   26 following:

                   27                    1. Defendant filed her Motion to Modify Conditions of Pretrial Release on April 22,
                   28
LEWIS                                       2015;
BRISBOIS
BISGAARD
& SMITH LLP              4810-4253-2131.1
ATTORNEYS AT LAW
                        Case
                         Case2:12-cr-00268-JAD-CWH
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                    1                  2. The Court noticed a hearing on the Motion to Modify Conditions of Pretrial

                    2                       Release for May 6, 2015, at 11:00 a.m.;

                    3                  3. Counsel for defendant will be out of the country from May 5, 2014, through May 9,

                    4                       2015; and

                    5                  4. The Assistant United States Attorney on behalf of the United States will be

                    6                       unavailable May 7, 2015, through May 15, 2015.

                    7                  5. May 18, 2015 is the first available date for attorneys for both sides.

                    8 This stipulation is made in good faith and not for the purposes of delay.

                    9
                         DATED: April 24, 2015.
                   10
                                                                      By: /s/ Kathleen Bliss
                   11
                                                                          KATHLEEN BLISS
                   12                                                     Attorney for Young Hie Choi

                   13                                                 By: /s/ Kimberly Frayn
                                                                          KIMERBERLY FRAYN
                   14                                                     Attorney for the government
                   15
                                            IT IS HEREBY ORDERED that the hearing on defendant’s Motion to Modify
                   16
                         Conditions of Pretrial Release will be held on ________________,
                                                                        Thursday,
                                                                        Thursday, April   2015 at
                                                                                  May 28, 2015,    ____________
                                                                                                at 9:00 a.m.
                   17
                         in courtroom
                         a.m./p.m.      #6D. _________.
                                   in courtroom
                   18
                                            IT IS FURTHER ORDERED that the government’s response in opposition to
                   19
                                                                          May 12, 2015.
                         defendant’s Motion, if any, is due on or before ___________, 2015. Defendant’s reply in support,
                   20
                         if any, is due on or before __________, 2015.
                                                      May 22, 2015.
                   21

                   22
                                             27th day
                                  DATED this ____ dayof
                                                      of__________,
                                                         April, 2015. 2015.
                   23

                   24
                                                                                 ________________________
                   25                                                            United States District Judge
                   26

                   27

                   28
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW         4810-4253-2131.1                                    2
                        Case
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                    1                                   CERTIFICATE OF SERVICE

                    2             In accordance with Rule 49(c) of the Federal Rules of Criminal Procedure, I certify that I
                    3
                         am an employee of LEWIS BRISBOIS BISGAARD & SMITH, LLP, and that on this 24th day of
                    4
                         April, 2015, I did cause a true and correct copy of:
                    5
                                     STIPULATION AND (PROPOSED) ORDER TO CONTINUE HEARING
                    6                                     (First Request)
                    7
                         To be served electronically to the parties of record through the Court’s CM/ECF filing system.
                    8

                    9

                   10
                                                                       By: /s/Krystle Platero ________
                   11

                   12                                                   An employee of
                                                                        LEWIS BRISBOIS BISGAARD & SMITH LLP
                   13

                   14

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LEWIS
BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW         4810-4253-2131.1                                  3
